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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NEXUS SERVICES, INC., et al.,

      Plaintiffs,

 v.                                            Case No. 1:17-cv-02215-ABJ

 CONSUMER FINANCIAL
 PROTECTION BUREAU, et al.,

      Defendants.


 CONSUMER FINANCIAL
 PROTECTION BUREAU,                            Case No. 1:17-cv-02238-ABJ

      Petitioner                                     Consolidated Cases

 v.

 NEXUS SERVICES, INC., et al.,

      Respondents.



                      JOINT STATUS REPORT ON MEDIATION

         Nexus Services, Inc., Libre by Nexus, Inc., and the Bureau of Consumer Financial

Protection jointly report in accordance with the Court’s November 13, 2018 Minute

Order that mediation of these consolidated matters has concluded.

         The parties reached an agreed resolution of these matters, which will be

presented to the Court in a joint stipulation and proposed order to be filed with the

Court today.



December 4, 2018
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               Respectfully submitted,

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